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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


  IN RE: VALSARTAN,
  LOSARTAN, AND                                           MDL No. 2875
  IRBESARTAN PRODUCTS
  LIABILITY LITIGATION
                                                  HON. ROBERT B. KUGLER
                                                   CIVIL NO. 19-2875 (RBK)
  THIS DOCUMENT RELATES TO
  ALL CASES


             PLAINTIFFS’ MOTION TO SEAL DOCKET NO. 2560

       Pursuant to Local Rule 5.3, TPP Trial Plaintiffs hereby request that the Court

 seal Docket No. 2560, an unredacted copy of the TPP Trial Plaintiffs’ Statement of

 Undisputed Material Facts as to Torrent, in the above-captioned matter.

       On December 22, 2023, the TPP Trial Plaintiffs inadvertently filed the

 unredacted copy of the TPP Trial Plaintiffs’ Statement of Undisputed Material Facts

 as to Torrent, rather than the redacted copy. Upon realizing this, the TPP Trial

 Plaintiffs contacted the Clerk. Plaintiffs also filed an amended, redacted copy of the

 TPP Trial Plaintiffs’ Statement of Undisputed Material Facts as to Torrent, Docket

 No. 2563, which was identical but for redactions of all quotations from documents

 marked confidential.

       Plaintiffs and Defendants have conferred and Defendants have stated they do

 not oppose this Motion.

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  Dated: December 27, 2023                   Respectfully submitted,

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